Case 3:23-cv-00654-RGJ         Document 40        Filed 06/06/24       Page 1 of 33 PageID #: 254




                         THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION

                                     ELECTRONICALLY FILED


 JOANNE BARROWS and SUSAN HAGOOD,
 individually and on behalf of all others similarly
 situated,

                       Plaintiffs,                      Civil Action No. 3:23-cv-00654-RGJ

        v.

 HUMANA, INC.,

                       Defendant.


                      DEFENDANT’S MOTION TO DISMISS
             PLAINTIFFS’ FIRST AMENDED CLASS ACTION COMPLAINT

 Michael P. Abate                                     Kevin D. Feder
 Burt Anthony Stinson                                 Jason Yan
 KAPLAN JOHNSON ABATE & BIRD LLP                      Gillian M. Mak
 710 West Main Street, 4th Floor                      O’MELVENY & MYERS LLP
 Louisville, KY 40202                                 1625 Eye Street NW, 12061
 Telephone: 502-416-1630                              Washington, DC 20006
 Facsimile: 502-540-8282                              Telephone: 202-383-5164
 E-mail: mabate@kaplanjohnsonlaw.com                  Facsimile: 202-383-5414
 E-mail: cstinson@kaplanjohnsonlaw.com                E-mail: kfeder@omm.com
                                                      E-mail: jyan@omm.com
                                                      E-mail: gmak@omm.com

                                                      Attorneys for Defendant




                                                 i
Case 3:23-cv-00654-RGJ                       Document 40                Filed 06/06/24                Page 2 of 33 PageID #: 255

                                                    TABLE OF CONTENTS

                                                                                                                                           Page

 INTRODUCTION .......................................................................................................................... 1
 BACKGROUND ............................................................................................................................ 5
           I.         THE MEDICARE ADVANTAGE PROGRAM .................................................... 5
                      A.         Medicare Advantage Organizations are Subject to Complex
                                 Federal Laws and Regulations Set By The Medicare Act. ......................... 5
                      B.         The Medicare Act Requires Plaintiffs To Exhaust A Four Step
                                 Administrative Review Process Before This Court Can Hear Their
                                 Claims. ........................................................................................................ 6
           II.        PLAINTIFFS’ CLAIMS FOR SKILLED NURSING AND INPATIENT
                      REHABILITATION FACILITY BENEFITS ........................................................ 7
 STANDARD OF REVIEW .......................................................................................................... 10
 ARGUMENT ................................................................................................................................ 12
           I.         THE MEDICARE ACT DEPRIVES THIS COURT OF SUBJECT
                      MATTER JURISDICTION OVER PLAINTIFFS’ CLAIMS, WHICH
                      ARE SUBJECT TO A MANDATORY FEDERAL ADMINISTRATIVE
                      EXHAUSTION PROCESS. ................................................................................. 12
                      A.         Plaintiffs’ Claims Are Subject To The Medicare Act’s Exhaustion
                                 Requirements Because They Are “Inextricably Intertwined” With
                                 The Denial Of Medicare Benefits. ............................................................ 13
                      B.         Plaintiffs Did Not Fully Appeal Humana’s Coverage
                                 Determinations Through Medicare’s Mandatory Federal Appeals
                                 Process. ..................................................................................................... 18
                      C.         Even If Plaintiffs Had Exhausted The Mandatory Appeals Process,
                                 The Secretary Of Health And Human Services—Not Humana—
                                 Would Be The Proper Defendant. ............................................................. 19
           II.        THIS COURT MUST DISMISS PLAINTIFFS’ CLAIMS AGAINST
                      HUMANA BECAUSE THEY ARE EXPRESSLY PREEMPTED BY
                      THE MEDICARE ACT. ....................................................................................... 20
                      A.         The Medicare Act Imposes A Sweeping Preemption Provision. .............. 20
                      B.         The Medicare Act Preempts Plaintiffs’ Claims Because, “At
                                 Bottom,” They Are About Coverage Determinations Addressed By
                                 Medicare’s Vast Regulatory Scheme. ....................................................... 23
 CONCLUSION ............................................................................................................................. 25




                                                                       ii
Case 3:23-cv-00654-RGJ                        Document 40                 Filed 06/06/24              Page 3 of 33 PageID #: 256

                                                   TABLE OF AUTHORITIES

                                                                                                                                       Page(s)

 Cases
 Alston v. UnitedHealth Servs., Inc.,
   291 F. Supp. 3d 1170 (D. Mont. 2018) ................................................................... 18, 19, 22, 24
 Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ............................................................................................................ 10, 16
 Ashland, Inc. v. Oppenheimer & Co.,
   648 F.3d 461 (6th Cir. 2011) ................................................................................................. 3, 11
 Barret v. Harrington,
   130 F.3d 246 (6th Cir. 1997) ................................................................................................. 1, 11
 Bassett,
   528 F.3d..................................................................................................................................... 11
 Bell Atl. Corp. v. Twombly,
   550 U.S. 544 (2007) .................................................................................................................. 11
 Capitol Specialty Ins. Corp. v. IKO, Inc.,
   2013 WL 6196564 (W.D. Ky. Nov. 26, 2013) .......................................................................... 11
 Cathedral Rock of N. College Hill, Inc. v. Shalala,
   223 F.3d 354 (6th Cir. 2000) ....................................................................................................... 4
 Dicrescenzo v. UnitedHealth Grp. Inc.,
   2015 WL 5472926 (D. Haw. Sept. 16, 2015) ..................................................................... 13, 15
 Ebert v. Anthem Health Plans of Ky, Inc.,
   2022 WL 509117 (W.D. Ky. Feb. 18, 2022) ......................................................................... 2, 20
 Estate of Gene B. Lokken, et al. v. UnitedHealth Grp., Inc., et al.,
   No. 0:23-cv-03514-JRT-DTS (D. Minn. Nov. 14, 2023) ............................................................ 1
 Ex parte Blue Cross & Blue Shield of Ala.,
   90 So.3d 158 (Ala. 2012) .................................................................................................... 15, 17
 Giesse v. Sec. Dept. Health & Hum. Servs.,
   522 F.3d 697 (6th Cir. 2008) ........................................................................................... 3, 12, 13
 Glob. Rescue Jets, LLC v. Kaiser Found. Health Plan, Inc.,
   30 F.4th 905 (9th Cir. 2022) ............................................................................................ 2, 13, 14
 Haaland v. Presbyterian Health Plan, Inc.,
   292 F. Supp. 3d 1222 (D.N.M. 2018) ....................................................................................... 18
 Harwood by Next Friend Adelson v. Aetna Health of Michigan,
   2023 WL 424715 .......................................................................................................... 12, 14, 18
 Heckler v. Ringer,
   466 U.S. 602 (1984) ...................................................................................................... 12, 13, 14
 Hepstall v. Humana Health Plan, Inc.,
   2018 WL 6588555 (S.D. Ala. Nov. 26, 2018) ................................................................... passim



                                                                        iii
Case 3:23-cv-00654-RGJ                     Document 40               Filed 06/06/24             Page 4 of 33 PageID #: 257

                                               TABLE OF AUTHORITIES
                                                     (continued)
                                                                                                                              Page(s)

 Humana Med. Plan, Inc. v. W. Heritage Ins. Co.,
   832 F.3d 1229 (11th Cir. 2016) ................................................................................................... 5
 Humphrey v. U.S. Att’y Gen.’s Office,
   279 F. App’x 328 (6th Cir. 2008) .......................................................................................... 3, 11
 Madsen v. Kaiser Found. Health Plan, Inc.,
  2009 WL 1537878 (S.D. Cal. June 2, 2009) ............................................................................. 20
 Medicaid & Medicare Advantage Prods. Ass’n of P.R., Inc. v. Hernández,
  58 F.4th 5 (1st Cir. 2023) .................................................................................................... 21, 22
 Morrison v. Health Plan of Nev., Inc.,
  130 Nev. 517 (Nev. 2014) ......................................................................................................... 23
 Morrison v. Health Plan of Nev., Inc.,
  328 P.3d 1165 (Nev. 2014) .......................................................................................................... 4
 Moses v. United Healthcare Corp.,
  2020 WL 2037115 (D. Ariz. Apr. 28, 2020) ....................................................................... 13, 15
 Pharm. Care Mgmt. Ass’n v. Mulready,
   78 F.4th 1183 (10th Cir. 2023) ........................................................................................ 4, 21, 22
 Phillips v. Kaiser Found. Health Plan, Inc.,
   953 F. Supp. 2d 1078 (N.D. Cal. 2011) .................................................................................... 22
 Potts v. Rawlings Co.,
   897 F. Supp. 2d 185 (S.D.N.Y. 2012) ....................................................................................... 22
 Powell v. Comm’r of Soc. Sec.,
   2019 WL 4686491 (E.D. Mich. Sept. 26, 2019) ......................................................................... 2
 Quishenberry v. UnitedHealthcare, Inc.,
   532 P.3d 239 (Cal. 2023) .......................................................................................................... 23
 Rudek v. Presence Our Lady of Resurrection Med. Ctr.,
   2014 WL 5441845 (N. D. Ill. Oct. 27, 2014) ............................................................................ 21
 Snyder v. Prompt Medical Transportation, Inc.,
   131 N.E.3d 640 (Ind. Ct. App. 2019) ....................................................................................... 25
 Tackett v. M & G Polymers, USA, LLC,
   561 F.3d 478 (6th Cir. 2009) ..................................................................................................... 10
 Taylor v. Keycorp,
   680 F.3d 609 (6th Cir. 2012) ............................................................................................... 11, 18
 Tenet Healthsystem GB, Inc., v. Care Improvement Plus S. Cent. Ins. Co.,
   875 F.3d 584 (11th Cir. 2017) ................................................................................................... 12
 Toth v. Grand Trunk R.R.,
   306 F.3d 335 (6th Cir. 2002) ....................................................................................................... 3



                                                                   iv
Case 3:23-cv-00654-RGJ                       Document 40                Filed 06/06/24              Page 5 of 33 PageID #: 258

                                                 TABLE OF AUTHORITIES
                                                       (continued)
                                                                                                                                   Page(s)

 Trinity Home Dialysis, Inc. v. WellMed Networks, Inc.,
   2023 WL 2573914 (5th Cir. Mar. 20, 2023) ............................................................................... 3
 Uhm v. Humana, Inc.,
   620 F.3d 1134 (9th Cir. 2010) ............................................................................................ passim
 United States v. An Undetermined Quantity of An Article of Drug Labeled As Benylin
   Cough Syrup,
   583 F.2d 942 (7th Cir. 1978) ....................................................................................................... 2
 United States v. Blue Cross & Blue Shield of Ala., Inc.,
   156 F.3d 1098 (11th Cir. 1998) ........................................................................................... 14, 25
 Williams v. Allegheny Cnty.,
   2023 WL 4238892 (W.D. Pa. June 28, 2023) ..................................................................... 13, 22
 Zhang v. UnitedHealthCare,
   2021 WL 3270319 (D. Ariz. July 30, 2021) ............................................................................. 15
 Statutes
 42 U.S.C. § 1395ii......................................................................................................................... 13
 42 U.S.C. § 1395w-22(g) .................................................................................................... 6, 18, 19
 42 U.S.C. § 1395w-22(g)(5) ........................................................................................... 2, 7, 12, 19
 42 U.S.C. § 1395w-26(b)(1) (2012)................................................................................................ 4
 42 U.S.C. § 1395w-26(b)(3) ................................................................................................. 4, 6, 21
 42 U.S.C. § 405(g) ................................................................................................................. passim
 42 U.S.C. § 405(h) ................................................................................................................. passim
 Other Authorities
 CMS, Frequently Asked Questions Related to Coverage Criteria and Utilization
  Management Requirements in CMS Final Rule (CMS-4201-F) (Feb. 6, 2024) ........................ 6
 H.R. Rep. No. 108-391 (2003) (Conf. Rep.)................................................................................. 21
 Rules
 Fed. R. Civ. P. 12(b)(6) ................................................................................................................. 10
 Fed. R. Civ. P. 12(b)(1) ................................................................................................................. 11
 Regulations
 40 Fed. Reg. at 4665 ..................................................................................................................... 21
 42 C.F.R. § 405.1136(d)(1) ....................................................................................................... 2, 20
 42 C.F.R. § 405.920 et seq. ............................................................................................................. 2
 42 C.F.R. § 409.30 .................................................................................................................... 5, 24
 42 C.F.R. § 409.30–409.36 ........................................................................................................... 17

                                                                       v
Case 3:23-cv-00654-RGJ                       Document 40                Filed 06/06/24              Page 6 of 33 PageID #: 259

                                                 TABLE OF AUTHORITIES
                                                       (continued)
                                                                                                                                   Page(s)

 42 C.F.R. § 409.31 .................................................................................................................... 5, 24
 42 C.F.R. § 409.32 .................................................................................................................... 5, 24
 42 C.F.R. § 409.33 ........................................................................................................................ 24
 42 C.F.R. § 412.622(a)(3) ......................................................................................................... 5, 17
 42 C.F.R. § 422.1 et seq. ................................................................................................................. 5
 42 C.F.R. § 422.101(a) .................................................................................................................. 24
 42 C.F.R. § 422.101(b).................................................................................................................. 24
 42 C.F.R. § 422.111............................................................................................................. 6, 16, 25
 42 C.F.R. § 422.112(a)(6)(ii) ........................................................................................................ 24
 42 C.F.R. § 422.137 ................................................................................................................ 17, 24
 42 C.F.R. § 422.2261 .................................................................................................................... 16
 42 C.F.R. § 422.2267 .................................................................................................................... 24
 42 C.F.R. § 422.402 .............................................................................................................. 4, 6, 21
 42 C.F.R. § 422.560 et seq. ................................................................................................. 6, 18, 19
 42 C.F.R. § 422.566(b)............................................................................................................ 12, 17
 42 C.F.R. § 422.566(b)(2) ............................................................................................................... 6
 42 C.F.R. § 422.566(b)(4) ............................................................................................................... 6
 42 C.F.R. § 422.566(d).................................................................................................................. 24
 42 C.F.R. § 422.568(f) .................................................................................................................... 6
 42 C.F.R. § 422.608 ........................................................................................................................ 7
 42 C.F.R. § 422.612 .................................................................................................................. 7, 19
 42 C.F.R. § 422.612(c) .............................................................................................................. 2, 20
 42 C.F.R. § 422.626 ........................................................................................................................ 7
 42 C.F.R. § 424.20 .................................................................................................................... 5, 24
 42 C.F.R. §§ 422.578–422.590 ....................................................................................................... 7
 42 C.F.R. §§ 422.592–422.596 ....................................................................................................... 7
 42 C.F.R. §§ 422.600–422.602 ....................................................................................................... 7
 70 Fed. Reg. at 4665 ................................................................................................................... 4, 6
 Medicare Program: Establishment of the Medicare Advantage Programs, 70 Fed. Reg.
  4588, 4589 (Jan. 28, 2005) ......................................................................................................... 1




                                                                      vi
Case 3:23-cv-00654-RGJ          Document 40        Filed 06/06/24      Page 7 of 33 PageID #: 260




        Defendant Humana Inc. (“Humana”) moves pursuant to Federal Rules of Civil Procedure

 12(b)(1) and 12(b)(6) to dismiss the First Amended Class Action Complaint (R.37) (“Amended

 Complaint”) filed by Plaintiffs Joanne Barrows, Susan Hagood, Sharon Merkley, Lorraine Kohl,

 and Dolly Balani (collectively “Plaintiffs”). In short, Plaintiffs cannot forum-shop their way to a

 different Medicare coverage determination. Nor can Plaintiffs creatively leverage state-law causes

 of action to challenge the coverage criteria and processes used for Medicare Benefits, which are

 exclusively governed by federal law.

                                         INTRODUCTION

        Plaintiffs are Medicare Part C1 enrollees who received Medicare Benefits through a

 Medicare Advantage plan administered by Humana. Plaintiffs allege that Humana wrongly denied

 Plaintiffs’ requests for coverage of certain Medicare Benefits. Plaintiffs’ Amended Complaint—

 which is heavily copied-and-pasted from a similar action filed by the same law firm against another

 Medicare Advantage Organization (“MAO”)2—includes sensationalized allegations that Humana

 makes post-acute care coverage determinations based solely on the output of an Artificial

 Intelligence program. Plaintiffs’ allegations are false.3 But, even accepting Plaintiffs’ allegations

 as true at this stage, Plaintiffs’ Amended Complaint must be dismissed for two reasons:




 1
   Medicare Part C is also known as Medicare Advantage and was previously known as
 Medicare+Choice. See Medicare Program: Establishment of the Medicare Advantage Programs,
 70 Fed. Reg. 4588, 4589 (Jan. 28, 2005).
 2
   Estate of Gene B. Lokken, et al. v. UnitedHealth Grp., Inc., et al., ECF 1, No. 0:23-cv-03514-
 JRT-DTS (D. Minn. Nov. 14, 2023).
 3
   Humana acknowledges that the Court is required to “take as true all factual allegations in the
 complaint.” See Barret v. Harrington, 130 F.3d 246, 251 (6th Cir. 1997). Humana notes, however,
 that if this case were to proceed past the motion to dismiss stage, the facts would unambiguously
 show that the Plaintiffs’ allegations that Humana uses the nH Predict tool to make adverse coverage
 determinations without human intervention have no merit.
                                                  1
Case 3:23-cv-00654-RGJ          Document 40        Filed 06/06/24     Page 8 of 33 PageID #: 261




        First, the Court lacks subject-matter jurisdiction to adjudicate Plaintiffs’ claims because

 Plaintiffs have failed to exhaust the Medicare Act’s exclusive administrative appeal process for

 challenging an MAO’s coverage determination. Under the Medicare Act and Centers for Medicare

 and Medicaid Services (“CMS”) regulations, any Medicare beneficiary who disagrees with a

 benefit determination by her MAO must exhaust a four-step mandatory administrative review

 process that concludes with potential review by the Medicare Appeals Council, a federal agency

 authorized to issue final benefit determinations on behalf of the Secretary of Health and Human

 Services (“HHS”). See 42 U.S.C. § 1395w-22(g)(5); 42 C.F.R. § 405.920 et seq.; Glob. Rescue

 Jets, LLC v. Kaiser Found. Health Plan, Inc., 30 F.4th 905, 911 (9th Cir. 2022). If an enrollee

 disagrees with the Medicare Appeals Council’s determination on behalf of the Secretary, she can

 seek relief in federal court only by filing a lawsuit against the Secretary challenging the agency’s

 administrative determination; she cannot sue her MAO. See 42 U.S.C. §§ 405(g), 1395w-22(g)(5);

 42 C.F.R. §§ 405.1136(d)(1), 422.612(c); Ebert v. Anthem Health Plans of Ky, Inc.,

 2022 WL 509117, at *2 (W.D. Ky. Feb. 18, 2022).

        With this lawsuit, Plaintiffs seek to sidestep the Medicare Act’s exclusive administrative

 appeal process. Indeed, each of the named Plaintiffs has only partially completed Medicare

 Part C’s exclusive four-step administrative appeal process. Plaintiffs Susan Hagood and Dolly

 Balani each completed Level 3 and received decisions from HHS Administrative Law Judges

 upholding Humana’s Medicare coverage determination; they did not complete Level 4.4



 4
  See Exhibit 1, Sealed Filing, R.30 (the ALJ Decision for Ms. Hagood’s appeal) and Exhibit 3 (the
 ALJ Decision for Ms. Balani’s appeal). The Court may take judicial notice of an ALJ decision and
 evaluate the administrative record without converting this motion into one for Summary Judgment.
 “[T]he decision of an ALJ is a proper subject of judicial notice.” United States v. An Undetermined
 Quantity of An Article of Drug Labeled As Benylin Cough Syrup, 583 F.2d 942, 946 n.3
 (7th Cir. 1978); see also Powell v. Comm’r of Soc. Sec., 2019 WL 4686491, at *4
 (E.D. Mich. Sept. 26, 2019) (the findings of an “ALJ decision cannot reasonably be questioned.”
                                                  2
Case 3:23-cv-00654-RGJ          Document 40       Filed 06/06/24      Page 9 of 33 PageID #: 262




 Humana’s organization determinations were similarly upheld on Plaintiffs JoAnne Barrows5 and

 Lorraine Kohl’s6 Level 1 appeals; they did not complete Levels 2, 3, or 4. Finally, Plaintiff Sharon

 Merkley submitted multiple Level 1 appeals that were resolved in her favor. Ms. Merkley appealed

 the two remaining appeals to Level 2, where an Independent Review Entity upheld Humana’s

 coverage determination.7 Ms. Merkley did not complete Levels 3 or 4.

        Unhappy with the decisions in their administrative appeals, Plaintiffs now attempt to

 pursue state-law causes of action in this Court. But, as numerous other courts have held, federal

 courts lack subject-matter jurisdiction to hear claims that attempt to bypass the administrative

 appeal process. See, e.g., Uhm v. Humana, Inc., 620 F.3d 1134 (9th Cir. 2010); Trinity Home

 Dialysis, Inc. v. WellMed Networks, Inc., 2023 WL 2573914, at *5 (5th Cir. Mar. 20, 2023)

 (per curiam); Giesse v. Sec. Dept. Health & Hum. Servs., 522 F.3d 697, 702–03 (6th Cir. 2008)



 (taking judicial notice of ALJ decision)); cf. Toth v. Grand Trunk R.R., 306 F.3d 335, 349
 (6th Cir. 2002) (“[A] Court may take judicial notice of the rules, regulations and orders of
 administrative agencies issued pursuant to their delegated authority”).
 5
    See Exhibit 2, Sealed Filing, R.30 (the QIO determination for Ms. Barrows’ appeal). Because
 the Complaint alleges that “Ms. Barrows and her family vigorously appealed Humana’s denial, but
 their efforts were unsuccessful,” Amend. Compl., R.37, PageID#: 218, this Court is free to consider
 the referenced appeal determinations. See Ashland, Inc. v. Oppenheimer & Co., 648 F.3d 461, 467
 (6th Cir. 2011) (citation omitted). Moreover, because this issue goes to the Court’s subject-matter
 jurisdiction, the Court is free to consider documents bearing on exhaustion even if they were not
 referenced. See Humphrey v. U.S. Att’y Gen.’s Office, 279 F. App’x 328, 331 (6th Cir. 2008).
 6
    See Exhibit 4 (January 6, 2023 Level 1 determination upholding Humana’s decision to end Ms.
 Kohl’s SNF coverage and March 3, 2023 Level 1 determination upholding Humana’s decision to
 end Ms. Kohl’s SNF coverage). Because these decisions are referenced in the Amended Complaint
 (R.37, PageID#: 226–227), this Court is free to consider them. Humana has not located the letter
 allegedly sent by Ms. Kohl’s family to Humana directly on or around January 7, 2023, or Humana’s
 response to Ms. Kohl’s direct appeal, but assumes these allegations are true for the purposes of
 responding to the Amended Complaint.
 7
   See Exhibit 5 (Ms. Merkley’s first Level 2 determination and Ms. Merkley’s second Level 2
 determination by a QIO). Because these decisions are referenced in the Amended Complaint
 (R.37, PageID#: 223, 225), this Court is free to consider them. Although Humana accepts the
 allegation that the QIO continued to uphold Humana’s denial of Ms. Merkley’s Level 2 appeal for
 the purposes of responding to the Amended Complaint, Humana’s appeal records indicate that Ms.
 Merkley’s second Level 2 appeal was successful.
                                                  3
Case 3:23-cv-00654-RGJ          Document 40        Filed 06/06/24      Page 10 of 33 PageID #: 263




 (“[S]ection 405(h) clearly prohibits judicial review of plaintiff’s claims [that medical benefits were

 allegedly arbitrarily and capriciously terminated] absent exhaustion of available administrative

 remedies.”); Cathedral Rock of N. College Hill, Inc. v. Shalala, 223 F.3d 354 (6th Cir. 2000).

        Second, the Court must dismiss this case because the Medicare Act expressly preempts

 Plaintiffs’ state-law causes of action. To ensure uniform administration of the Medicare Act

 nationwide, Congress expressly preempted any state law or cause of action related to Medicare

 Act standards. See 42 U.S.C. § 1395w-26(b)(3); 42 C.F.R. § 422.402. Specifically, Congress

 intended to “supersede any State law or regulation (other than State licensing laws or State laws

 relating to plan solvency) with respect to MA plans which are offered by MA organizations,” id.,

 “including those established through case law,” 70 Fed. Reg. at 4665, state “common law,” and

 statutory claims, Uhm, 620 F.3d at 1156. The Medicare Act’s preemption provision is broad and

 mandates something “akin to field preemption.” See Pharm. Care Mgmt. Ass’n v. Mulready,

 78 F.4th 1183, 1206 (10th Cir. 2023).

        Plaintiffs raise a patchwork of state-law causes of action that attempt to scrutinize

 Humana’s review and denial of their claims seeking Medicare Benefits for skilled nursing facility

 (“SNF”) and inpatient rehab facility (“IRF”) care.            But Humana’s Medicare coverage

 determinations are not governed by state law. Instead, “extensive regulations” set by CMS,

 e.g, Morrison v. Health Plan of Nev., Inc., 328 P.3d 1165 (Nev. 2014) (citing 42 U.S.C. § 1395w-

 26(b)(1) (2012)), dictate the appropriate process for MAOs to review claims for Medicare Benefits

 and make coverage determinations for post-acute care benefits under the Medicare Act. Plaintiffs

 ask this Court to apply twenty-four states’ standards, inviting outcomes that conflict with the

 federal government’s Medicare rules. That is the opposite of what the Medicare Act’s preemption

 provision requires, and why Plaintiffs’ claims must be dismissed.



                                                   4
Case 3:23-cv-00654-RGJ        Document 40        Filed 06/06/24     Page 11 of 33 PageID #: 264




        Plaintiffs’ Amended Complaint should be seen for what it is: an attempt to forum shop to

 this District to ask this Court to override federal law and apply state-law requirements that

 Congress and CMS chose not to impose. Plaintiffs’ Amended Complaint must be dismissed.

                                        BACKGROUND

 I.     THE MEDICARE ADVANTAGE PROGRAM

        A.      Medicare Advantage Organizations are Subject to Complex Federal Laws
                and Regulations Set By The Medicare Act.

        In 1997, Congress enacted Part C of Title XVII of the Social Security Act, known as the

 Medicare Act. The Medicare Act gives Medicare beneficiaries the option to receive benefits in

 one of two ways. An eligible person may participate in Medicare Parts A and B and have “CMS

 directly pay medical providers for [her] hospital and outpatient care.” Humana Med. Plan, Inc. v.

 W. Heritage Ins. Co., 832 F.3d 1229, 1233 (11th Cir. 2016). Alternatively, a Medicare enrollee

 may choose to participate in a Medicare Part C plan, known as a Medicare Advantage plan, and

 have an MAO—rather than CMS—provide her Medicare Benefits. See id. Each of the named

 Plaintiffs elected to enroll in a Medicare Advantage plan administered by Humana. Amend.

 Compl., R.37, PageID#: 208–09.

        MAOs are heavily regulated entities whose activities are governed exclusively by the

 Medicare Act and CMS’s implementing regulations. See, e.g., 42 C.F.R. § 422.1 et seq. For

 instance, the Medicare Act and CMS regulations dictate when an MAO must cover medical

 services, how it can make those coverage determinations, and the exclusive process for an enrollee

 to appeal if her coverage is denied. See, e.g., 42 C.F.R. § 409.30 (basic pre-admission and

 admission requirements), § 409.31 (level of care requirement for SNFs), § 409.32 (criteria and

 need for skilled services), § 424.20 (plan of treatment and certification requirements for post

 hospital SNF care); § 412.622(a)(3) (criteria dictating when IRF care is “reasonable and


                                                 5
Case 3:23-cv-00654-RGJ         Document 40        Filed 06/06/24      Page 12 of 33 PageID #: 265




 necessary”) and § 422.111 (MAOs’ disclosure requirements) (effective June 3, 2024); see also

 CMS, Frequently Asked Questions Related to Coverage Criteria and Utilization Management

 Requirements in CMS Final Rule (CMS-4201-F) at 2 (Feb. 6, 2024) (“An algorithm or software

 tool may be used to assist MA plans in making coverage determinations, but it is the responsibility

 of the MA organization to ensure that the algorithm or artificial intelligence complies with all

 applicable rules for how coverage determinations by MA organizations are made.”). Congress

 ensured uniform implementation of this nationwide program by expressly preempting any state

 laws or causes of action that relate to, challenge, or regulate MAOs’ compliance with Medicare

 standards. See 42 U.S.C. § 1395w-26(b)(3); 42 C.F.R. § 422.402; 70 Fed. Reg. at 4665.

        B.      The Medicare Act Requires Plaintiffs To Exhaust A Four Step Administrative
                Review Process Before This Court Can Hear Their Claims.

        The Medicare Act and associated federal regulations also outline the only path for Medicare

 enrollees to challenge the denial of a request for coverage of Medicare Benefits. The question of

 whether an MAO must make payment for a service that the patient believes is covered by Medicare

 is an “organization determination” under the Medicare Act. 42 C.F.R. § 422.566(b)(2). So is any

 alleged “[r]eduction, or premature discontinuation, of a previously authorized ongoing course of

 treatment.” Id. § 422.566(b)(4). Even an alleged failure to timely notify an enrollee of an

 organization determination is itself treated as an organization determination, id. § 422.568(f), and

 therefore requires the enrollee to follow the appeal process set forth below.

        Enrollees who wish to challenge an MAO’s organization determination cannot go directly

 to federal or state court. Instead, Congress required that all such disputes must first be presented

 to, and exhausted in, a four-step administrative appeal process. 42 U.S.C. §§ 405(g)-(h); id.

 §1395w-22(g); 42 C.F.R. § 422.560 et seq. Under the traditional process, a Level 1 appeal requires

 enrollees to seek reconsideration from their MAO within 60 days of the organization


                                                  6
Case 3:23-cv-00654-RGJ         Document 40        Filed 06/06/24      Page 13 of 33 PageID #: 266




 determination. See 42 C.F.R. §§ 422.578–422.590. If the MAO upholds the denial, the enrollee

 may seek Level 2 review by an Independent Review Entity. See id. §§ 422.592–422.596. For

 certain types of organization determinations—such as the termination of Medicare coverage for

 post-acute care at issue in this case, CMS regulations give enrollees an option to initiate expedited

 or “fast-track” Level 1 and 2 appeals directly to an External Review Entity, such as a Quality

 Improvement Organization (“QIO”). See, e.g., id. § 422.626.

        Regardless of the type of appeal the Medicare enrollee initiates, if she remains unsatisfied

 after Level 2, she has a right to a Level 3 appeal—a hearing by an HHS Administrative Law Judge

 (“ALJ”). See id. §§ 422.600–422.602. Finally, the enrollee may seek Level 4 review by the

 Medicare Appeals Council. See id. § 422.608. A beneficiary may seek review in federal district

 court only after the Medicare Appeals Council has issued a Level 4 final determination on behalf

 of the Secretary of HHS. 42 U.S.C. § 405(g)-(h); id. §1395w-22(g)(5); 42 C.F.R. § 422.612. And

 that lawsuit can only be filed against the Secretary of HHS in the federal district court for the

 district where the enrollee resides. See 42 U.S.C. § 405(g).

 II.    PLAINTIFFS’ CLAIMS FOR SKILLED                          NURSING        AND     INPATIENT
        REHABILITATION FACILITY BENEFITS

        Plaintiffs seek to recover for post-acute care provided after Humana determined that these

 services were not medically necessary under the Medicare Act. As noted above, the named

 Plaintiffs are Medicare beneficiaries who elected to receive Medicare Benefits through Humana.

 Amend. Compl., R.37, PageID#: 208–09. Ms. Barrows resided in Minnesota, Ms. Hagood in

 North Carolina, Ms. Merkley in Kentucky, Ms. Kohl in Wisconsin, and Ms. Balani in Texas. Id.

        The Amended Complaint alleges that Ms. Barrows, Ms. Hagood, Ms. Kohl, and

 Ms. Merkley were each admitted to a skilled nursing facility (SNF) following discharge from a

 hospital. Id. at 218, 220–21, 225. According to the Amended Complaint, Humana covered 15 days


                                                  7
Case 3:23-cv-00654-RGJ         Document 40        Filed 06/06/24      Page 14 of 33 PageID #: 267




 of SNF care for Ms. Barrows, id. at 218; 19 days for Ms. Hagood,8 id. at 220–21; 18 days for

 Ms. Kohl’s first SNF stay and 31 days for her second (a total of 49 days covered),9 id. at 226–28;

 and (after a series of successful Level 1 appeals) 53 days for Ms. Merkley’s first SNF stay, and

 37 days for her second (a total of 90 days covered), id. at 221–25. For each of these named

 Plaintiffs, Humana issued a Notice of Medicare Non-Coverage after determining that SNF care

 was no longer medically necessary. Id. at 218, 220, 222–25, 227.10

        Although each Plaintiff sought review of Humana’s organization determination through

 portions of the Medicare Act’s administrative appeals process, no Plaintiff exhausted all four levels

 of review. Ms. Hagood completed Level 3 of the appeals process and received an adverse

 determination from an ALJ, which upheld Humana’s determination that SNF care was not

 medically necessary. Exhibit 1, Sealed Filing, R.30. Ms. Barrows and Ms. Kohl completed Level

 1, where an independent review entity upheld Humana’s organization determinations. Exhibit 2,

 Sealed Filing, R.30; Exhibit 4; Amend. Compl., R.37, PageID#: 226–27. And despite initiating

 multiple separate successful Level 1 appeals challenging Humana’s coverage determinations, the

 Amended Complaint states that Ms. Merkley only appealed as far as Level 2, where two

 independent review entities similarly agreed that Humana correctly determined that additional

 SNF care was not medically necessary. Amend. Compl., R.37, PageID#: at 223, 225; Exhibit 5.



 8
   The Amended Complaint misstates the timeline for Ms. Hagood’s SNF care. See Amend. Compl.,
 R.37, PageID#: 220. According to the ALJ’s decision, Ms. Hagood was admitted to the SNF on
 October 26, 2022. See Exhibit 1, Sealed Filing, R.30, at 7. Humana covered her care for 19 days.
 See id. at 7–8. On November 11, 2022, Humana informed Ms. Hagood and her family that her
 care would no longer be covered after November 13, 2022. Id. at 8–9. Her family opted to keep
 her in the facility until November 28, 2022, when she was readmitted to an inpatient facility. See
 id. at 18.
 9
    Humana’s claims records do not align with the Amended Complaint’s allegations regarding
 Ms. Kohl’s outstanding balance, but this distinction is immaterial to resolution of this motion.
 10
    See Exhibit 6, which includes the Notices of Medicare Non-Coverage issued to each of the
 named Plaintiffs that correspond to their most recent adverse appeals.
                                                  8
Case 3:23-cv-00654-RGJ         Document 40        Filed 06/06/24      Page 15 of 33 PageID #: 268




        As to Ms. Balani, the Amended Complaint alleges that Humana wrongly denied

 Ms. Balani’s request for prior authorization of coverage for high-intensity care at an IRF. Amend.

 Compl., R.37, PageID#: 228. Ms. Balani’s facts are different from the SNF cases above—in her

 case, Humana covered Ms. Balani’s stay at an acute-care hospital but denied a request for prior

 authorization for Ms. Balani to be transferred to an IRF. Id. Ms. Balani received an adverse ALJ

 decision on her Level 3 appeal upholding Humana’s IRF coverage determination that the high level

 of care provided at an IRF was not medically necessary. See Exhibit 3. Ms. Balani initiated, but

 has not completed, a Level 4 appeal to the Medicare Appeals Council. Amend. Compl., R.37,

 PageID#: 229. Therefore, as of the filing of the Amended Complaint, not a single named Plaintiff

 has finished all four levels of administrative review.

        The Amended Complaint alleges eight causes of action for damages allegedly caused by

 Humana’s denial of coverage for Plaintiffs’ post-acute care and alleged improper investigation into

 Plaintiffs’ claims for Medicare Benefits. But these causes of action, at bottom, ask this Court to

 apply state law to second-guess the process and outcome of Humana’s Medicare coverage

 determinations made pursuant to federal law. Four of the claims arise from state common law.

 The first two are breach-of-contract claims that assume Plaintiffs entered into a contract with

 Humana for the provision of insurance under the Medicare Advantage program. Id. at 234, 236.

 Humana’s first alleged breach was its use of “the nH Predict AI Model to resolve . . . claims without

 an adequate individualized investigation” and failure to provide a “thorough, fair, and objective

 investigation of each submitted claim prior to a claim denial.” Id. at 235. Humana’s second alleged

 breach was a violation of the implied covenant of good faith and fair dealing under the insurance

 agreement when it allegedly improperly delegated its claims-review function to the nH Predict AI

 Model and failed to require its agents to conduct a proper investigation of each submitted claim.



                                                   9
Case 3:23-cv-00654-RGJ         Document 40        Filed 06/06/24      Page 16 of 33 PageID #: 269




 See id. at 236–37. In their third cause of action, Plaintiffs allege that Humana unjustly enriched

 itself when it “knowingly received and retained wrongful benefits and funds from Plaintiffs” and

 “for a service that Humana failed to deliver”—ostensibly, individualized review of Plaintiffs’

 claims for benefits. Id. at 238. Plaintiffs’ common law fraud cause of action is sparse, but asserts

 that Humana defrauded Plaintiffs by failing to inform them of its alleged use of the nH Predict tool

 before Plaintiffs enrolled or reenrolled in their Medicare Advantage plan. See id. at 247.

        The remaining state statutory causes of action are similarly rooted in Humana’s denial of

 coverage for, and alleged improper investigation of, claims for Medicare Benefits. Plaintiffs raise

 insurance bad faith claims under statutes from 21 different states, id. at 242–46, two North Carolina

 unfair claims settlement practices claims, id. at 239–42, and one Minnesota unfair and deceptive

 insurance practices claim, id. at 246. Each of the Amended Complaint’s state statutory claims are

 premised on the same fact pattern: Humana’s allegedly improper denial of Medicare Benefits for

 Plaintiffs’ post-acute care. See, e.g., id. at 242–43 (“The Bad Faith Claim States prohibit using

 bad faith or unreasonable means to make coverage determinations under an insurance policy . . .

 Defendant used and continues to use the nH Predict AI Model to make coverage determinations in

 bad faith that should be made by licensed physicians[.]”).

                                    STANDARD OF REVIEW

        The Court must dismiss a complaint if it “fail[s] to state a claim upon which relief can be

 granted.” Fed. R. Civ. P. 12(b)(6). Rule 12(b)(6) weeds out cases that do not warrant discovery

 because, based on the factual scenario on which the case rests, the plaintiff could never prevail.

 See Ashcroft v. Iqbal, 556 U.S. 662, 678–79 (2009). A court considering such a motion must

 disregard any conclusory allegations and judge the complaint on its well-pleaded factual

 allegations alone. Id. at 678; see also Tackett v. M & G Polymers, USA, LLC, 561 F.3d 478, 488



                                                  10
Case 3:23-cv-00654-RGJ          Document 40        Filed 06/06/24      Page 17 of 33 PageID #: 270




 (6th Cir. 2009). If those factual allegations do not add up to a valid cause of action, the Court

 should grant the motion and dismiss the case. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 561–

 64 (2007). Because 12(b)(6) motions test only the sufficiency of the complaint, courts generally

 disregard evidence that does not appear on the face of the pleading. Barrett, 130 F.3d at 253. Still,

 a court “may also consider other materials that are integral to the complaint, are public records, or

 are otherwise appropriate for the taking of judicial notice” without converting the motion into one

 for summary judgment. Ashland, 648 F.3d at 467 (citation omitted). It may also consider “exhibits

 attached to defendant’s motion to dismiss so long as they are referred to in the Complaint and are

 central to the claims contained therein.” Bassett v. Nat’l Collegiate Athletic Ass’n, 528 F.3d 426,

 430 (6th Cir. 2008).

          Motions to dismiss under Rule 12(b)(1) are a different story. The point of a 12(b)(1) motion

 is not to test the sufficiency of the complaint, but to remove from a court’s docket cases the court

 cannot decide because it “lack[s] [] subject-matter jurisdiction.” Fed. R. Civ. P. 12(b)(1). When

 ruling on a 12(b)(1) motion, courts are not confined to the allegations in the pleading. Rather, “it

 is well established that in considering a Rule 12(b)(1) motion to dismiss for lack of subject matter

 jurisdiction, the district court may look beyond the jurisdictional allegations in the complaint and

 consider whatever evidence is submitted.” Humphrey, 279 F. App’x at 331. “The plaintiff bears

 the burden of establishing that jurisdiction exists.” Taylor v. Keycorp, 680 F.3d 609, 612 (6th Cir.

 2012). And if it cannot do so “by a preponderance of the evidence,” the court must dismiss the

 complaint. Capitol Specialty Ins. Corp. v. IKO, Inc., 2013 WL 6196564, at *2 (W.D. Ky. Nov. 26,

 2013).




                                                  11
Case 3:23-cv-00654-RGJ         Document 40        Filed 06/06/24      Page 18 of 33 PageID #: 271




                                           ARGUMENT

 I.     THE MEDICARE ACT DEPRIVES THIS COURT OF SUBJECT MATTER
        JURISDICTION OVER PLAINTIFFS’ CLAIMS, WHICH ARE SUBJECT TO A
        MANDATORY FEDERAL ADMINISTRATIVE EXHAUSTION PROCESS.

        This case should be dismissed for lack of subject matter jurisdiction because Plaintiffs did

 not fully exhaust the Medicare Act’s mandatory administrative review process. When Congress

 passed the Medicare Act, it specified that all claims “arising under” Medicare must proceed

 through CMS’s administrative review process and receive a final decision issued by the Secretary

 before they can be brought in federal court. 42 U.S.C. §§ 405(h), 1395w-22(g)(5); 42 C.F.R.

 § 422.566(b); Harwood by Next Friend Adelson v. Aetna Health of Mich., 2023 WL 424715, at

 *1–2 (E.D. Mich. Jan. 26, 2023) (“The Medicare Act’s grant of subject matter jurisdiction only

 permits judicial review of the final decision of the Secretary made after a hearing.” (citing Giesse,

 522 F.3d at 703–04 (cleaned up)). This exhaustion requirement ensures national uniformity by

 allowing the federal government to set coverage criteria for Medicare Benefits and oversee how

 MAOs administer those Medicare Benefits.           Plaintiffs attempt to sidestep this mandatory

 administrative process and ask this Court to second guess coverage determinations on claims for

 Medicare Benefits by bringing state common law and statutory theories—all to conjure up subject

 matter jurisdiction when none exists.

        Multiple federal courts have held that the four-step administrative appeal process discussed

 above is the exclusive process for challenging a MAO’s coverage determinations, and also that

 exhaustion of that process is a jurisdictional prerequisite that must be satisfied before a federal

 district court can hear the Plaintiffs’ claims. See, e.g., Tenet Healthsystem GB, Inc., v. Care

 Improvement Plus S. Cent. Ins. Co., 875 F.3d 584, 587 (11th Cir. 2017) (quoting Heckler v. Ringer,

 466 U.S. 602, 617 (1984)). As the Ninth Circuit explained in 2022:



                                                  12
Case 3:23-cv-00654-RGJ         Document 40       Filed 06/06/24      Page 19 of 33 PageID #: 272




        Congress intended to impose under the Medicare Advantage program the same
        administrative exhaustion requirement that applies to claims for benefits under
        original Medicare. Section 1395w-22(g), like its statutory counterpart under
        original Medicare, conditions judicial review on a “final decision” of the Secretary
        and channels judicial review through § 405(g), subject to the same jurisdictional
        limitations imposed by § 405(h). Congress imported these requirements into
        § 1395w-22(g) after the Supreme Court in Ringer had construed virtually identical
        language in § 1395ff(b)(1) to mandate administrative exhaustion as a prerequisite
        for obtaining judicial review of a claim for Medicare benefits.

 Glob. Rescue Jets, 30 F.4th at 914. Thus, when plaintiffs—like the named Plaintiffs here—fail to

 complete the administrative exhaustion process set by Congress for contesting Medicare Benefits

 determinations, the Court lacks subject matter jurisdiction, and the complaint must be dismissed

 as a matter of law. See, e.g., id. at 914, 919–20; Uhm, 620 F.3d 1138; Williams v. Allegheny Cnty.,

 2023 WL 4238892, at *7 (W.D. Pa. June 28, 2023); Moses v. United Healthcare Corp., 2020 WL

 2037115 (D. Ariz. Apr. 28, 2020); Dicrescenzo v. UnitedHealth Grp. Inc., 2015 WL 5472926

 (D. Haw. Sept. 16, 2015).

        A.      Plaintiffs’ Claims Are Subject To The Medicare Act’s Exhaustion
                Requirements Because They Are “Inextricably Intertwined” With The
                Denial Of Medicare Benefits.

        Every cause of action in the Amended Complaint arises under the Medicare Act because

 they stem from Humana’s review and denial or termination of coverage for Plaintiffs’ Medicare

 Benefits. As discussed above, Medicare beneficiaries must receive a final decision from the

 Secretary of HHS before seeking judicial review of claims “arising under” the Medicare Act.

 See 42 U.S.C. § 405(h); id. § 1395ii; Uhm, 620 F.3d at 1141. A claim “arises under” the Medicare

 Act if the “standing and the substantive basis for the presentation of the claims” is the Medicare

 Act, or if it is “inextricably intertwined with a claim for Medicare benefits.” Uhm, 620 F.3d at

 1141 (citing Ringer, 466 U.S. at 614–15); see also Giesse, 522 F.3d at 702 (Medicare Act was the

 “standing and substantive basis for” claim for damages caused by the “arbitrary and capricious

 termination of [enrollee’s] medical benefits”). Plaintiffs cannot circumvent the Medicare Act’s

                                                 13
Case 3:23-cv-00654-RGJ          Document 40        Filed 06/06/24       Page 20 of 33 PageID #: 273




 exhaustion requirements by rebranding their claims for Medicare Benefits under a different name.

 See, e.g., Ringer, 466 U.S. at 614–16, 618, 621 (“supposed ‘procedural’ objections” and claims for

 “declaratory and injunctive relief” implicated “the payment of benefits” and “right to future

 payments”); United States v. Blue Cross & Blue Shield of Ala., Inc., 156 F.3d 1098, 1104

 (11th Cir. 1998) (plaintiffs cannot “evad[e] administrative review by creatively styling their

 benefits and eligibility claims as constitutional or statutory challenges to Medicare statutes and

 regulations”).

        Further, a claim is “inextricably intertwined” with a claim for Medicare Benefits if it does

 not involve issues separate from a party’s claim that it is entitled to benefits. Uhm, 620 F.3d at 1143

 (breach of contract claim “premised on the fact that Humana ‘failed to provide prescription drug

 benefits as promised’” and unjust enrichment claim alleging Humana “received monies as a result

 of payments made by [the plaintiffs] for prescription drug benefits that Humana failed to provide”

 arose under the Medicare Act because they were “at bottom, creatively disguised claims for

 benefits”); Glob. Rescue Jets, LLC, 30 F.4th at 919 (consumer-protection claim rested “directly on

 the interpretation of benefits provided under Kaiser’s Medicare Advantage plans” because, on

 plaintiffs’ theory, Kaiser’s failure to pay benefits would violate its Medicare Act obligations).

        For example, in Harwood by Next Friend Adelson v. Aetna Health of Michigan, a Medicare

 Part C beneficiary sued her MAO on breach of contract, specific performance, and breach of good

 faith and fair dealing claims after it denied pre-approval for her transfer to an IRF. 2023 WL

 424715 at *2. The court held that the claims arose under the Medicare Act because they ultimately

 sought coverage for IRF services. Id. Similarly, in Hepstall v. Humana Health Plan, Inc., the

 court dismissed tort and contract claims against Humana because they were not exhausted under

 the Medicare Act. 2018 WL 6588555 at *1 (S.D. Ala. Nov. 26, 2018). The plaintiff, the husband



                                                   14
Case 3:23-cv-00654-RGJ         Document 40        Filed 06/06/24      Page 21 of 33 PageID #: 274




 of a MA beneficiary, alleged that Humana wrongfully denied coverage for treatments, leading to

 economic harm and the death of his wife. The court concluded that the plaintiff sought “recovery

 for damages he suffered as a result of this refusal…[including] the costs he incurred for healthcare

 benefits that Humana refused to pay.” Id. at *8. Although the claim was restyled as breach of

 contract and bad faith refusal to pay, the essence of the causes of action remained a “cleverly

 concealed claim for benefits under the Medicare Act.” Id.

        Even claims challenging the process by which a Medicare coverage determination is made

 are inextricably intertwined with claims for Medicare Benefits. Indeed, one court held that nearly

 identical claims to those brought here—which challenged an MAO’s use of third-party claims-

 management software—were “‘at bottom’ a claim that [Medicare] Advantage enrollees [were]

 being denied coverage and/or benefits to which they were entitled under the Medicare Act.”

 Ex parte Blue Cross & Blue Shield of Ala., 90 So.3d 158, 163–64 (Ala. 2012). See also

 DiCrescenzo, 2015 WL 5472926, *8 (claims about “delay or mishandling of the coordination of

 benefits” were inextricably intertwined with a Medicare Benefits decision); Moses v. United

 Healthcare Corp., 2020 WL 2037115 at *3 (D. Ariz. 2020) (negligent training and supervision

 claims “concern[ing] [plaintiff’s] interactions with [MAO] representatives relating to his efforts to

 manage and secure benefits” were inextricably intertwined with claims for Medicare benefits);

 Zhang v. UnitedHealthCare, 2021 WL 3270319, *2 (D. Ariz. July 30, 2021) (MAO’s alleged delay

 in approving benefits cannot be “disentangle[d]” from Medicare benefits decision).

        Here, despite Plaintiffs’ creative attempts to disguise their claims for benefits as a novel

 legal theory, each cause of action arises under the Medicare Act because the Amended Complaint

 asks the Court to judge the validity of Humana’s process for reviewing claims for Medicare

 Benefits and its eventual denial of coverage. For example, Plaintiffs’ breach of contract, breach



                                                  15
Case 3:23-cv-00654-RGJ         Document 40        Filed 06/06/24       Page 22 of 33 PageID #: 275




 of implied covenant of good faith and fair dealing, and unjust enrichment causes of action allege

 Humana’s processes for reviewing and investigating claims led to a denial of Medicare Benefits

 in breach of their insurance agreements.11        See Amend. Compl., R.37, PageID#: 234–39.

 Plaintiffs’ sparse common law fraud allegations similarly concern this same dissatisfaction with

 Humana’s coverage determinations, claiming that Humana failed to disclose that Plaintiffs’

 coverage determinations would be made by an allegedly flawed algorithm.12 Id. at 247. These

 causes of action ask the Court to second guess whether Humana’s process for reviewing claims for

 Medicare Benefits was acceptable. As noted above, regulations promulgated under the Medicare

 Act set the processes and criteria MAOs must use for making Medicare Benefits coverage

 determinations, CMS has published guidelines for MAO’s use of AI and algorithms in making

 coverage determinations, and the coverage determinations about which Plaintiffs complain in this

 case were already scrutinized and upheld by an HHS Administrative Law Judge or a CMS-

 contracted external review organization. See supra at 5–6.

        Indeed, the allegations in this case are nearly identical to the alleged facts in Ex parte Blue

 Cross and Blue Shield of Alabama, where the Alabama Supreme Court instructed the lower court

 to dismiss a complaint that alleged that an MAO used a third-party claims management software

 to review and deny claims (and even “cut off coverage prematurely”) for SNF benefits because the

 plaintiff’s breach of contract, unjust enrichment, and other causes of action were “at bottom”



        11
            These “breach of contract” claims fail for another reason too: MAOs do not issue
 “contracts” to Medicare enrollees. Rather, Medicare Benefits are provided pursuant to federal law
 and regulations, and MAOs issue their beneficiaries an “Evidence of Coverage” document, which
 is largely written by CMS. See, e.g., 42 C.F.R. §§ 422.111, 422.2261.
         12
            Plaintiffs’ barebones “fraud by omission” claim must also be dismissed because it fails
 to meet the heightened pleading standard under Rule 9(b)(6), much less the Rule 8 pleading
 standard required by Ashcroft v. Iqbal, 556 U.S. 662 (2009). For example, the Amended Complaint
 does not allege the source of Humana’s purported duty to disclose this information. See Amend.
 Compl., R.37, PageID#: 247–48.
                                                  16
Case 3:23-cv-00654-RGJ         Document 40        Filed 06/06/24      Page 23 of 33 PageID #: 276




 claims that enrollees “[were] being denied coverage and/or benefits” that arose under the Medicare

 Act. 90 So.3d at 164. Just like in that case, the claims here “involve questions of coverage and

 compliance with the Medicare Act that, according to [the] [C]omplaint, have affected Medicare

 Advantage enrollees and could affect future enrollees.” Id. at 167. Thus, “at bottom” each cause

 of action here arises under the Medicare Act.

        The remaining statutory causes of action similarly arise under the Medicare Act. Although

 Plaintiffs avoid mentioning the type of remedy they seek for their state statutory claims, questions

 as to whether Humana’s investigations into an enrollee’s medical status were “reasonable,”

 Amend. Compl. R. 37, PageID#: 240, “adequate,” id. at 244, 246, or “fair,” id. at 238, relate

 directly to whether Humana acted appropriately under Medicare’s rules and regulations when it

 reviewed and denied Plaintiffs’ Medicare Benefits. See, e.g., 42 C.F.R. § 409.30–409.36 (CMS

 regulations for coverage of posthospital SNF care); id. § 422.137 (MAO’s use of utilization

 management programs). Similarly, allegations that there was “no reasonable basis for denial of

 Plaintiffs’ and Class members’ claims” for benefits, e.g., Amend. Compl., R.37, PageID#: 240,

 245, are inextricably intertwined with the Medicare Act regulations governing SNF coverage,

 see 42 C.F.R. § 409.30–409.36 (coverage of posthospital SNF care); § 412.622(a)(3) (criteria

 dictating when IRF care is “reasonable and necessary”). Determining whether an MAO acted

 “without any reasonable or arguable reason” when denying enrollees’ benefits, Amend. Compl.,

 R.37, PageID#: 240, 243, is squarely the responsibility of each level of the Medicare Act’s

 administrative review process, 42 C.F.R. § 422.566(b) (Medicare beneficiaries’ right to appeal

 organization determinations through the Medicare Act’s exclusive administrative appeals process).

 Because all of Plaintiffs’ claims arise from the Medicare Act, they must be properly exhausted

 before a court can consider them.



                                                 17
Case 3:23-cv-00654-RGJ         Document 40        Filed 06/06/24      Page 24 of 33 PageID #: 277




        B.      Plaintiffs Did Not Fully Appeal Humana’s Coverage Determinations
                Through Medicare’s Mandatory Federal Appeals Process.

        Even though all of their claims arise out of the Medicare Act, Plaintiffs do not allege that

 any Plaintiff completed the four levels of administrative appeals that the Medicare Act requires

 before a federal district court can hear their claims. As a result, Plaintiffs’ Amended Complaint

 must be dismissed for lack of subject matter jurisdiction.

        As noted above, the MA appeal process is governed by federal statutes and regulations that

 require enrollees to complete four levels of administrative review prior to filing suit on any claim

 arising under the Medicare Act. See 42 U.S.C. §§ 405(g), 1395w-22(g); 42 C.F.R. § 422.560

 et seq.; Uhm, 620 F.3d at 1144 (federal courts could not assert jurisdiction when plaintiffs failed

 to allege that they appealed through the §405(g) process); Harwood, 2023 WL 424715 at *1

 (dismissed because plaintiff conceded she had not exhausted administrative remedies); Haaland v.

 Presbyterian Health Plan, Inc., 292 F. Supp. 3d 1222, 1234 (D.N.M. 2018) (no subject matter

 jurisdiction because plaintiffs conceded MA enrollee did not appeal a denial of a liver transplant

 evaluation); Alston v. UnitedHealth Servs., Inc., 291 F. Supp. 3d 1170, 1173, 1175-76

 (D. Mont. 2018) (no jurisdiction when enrollee made no contention that he complied with the

 exhaustion requirements). Plaintiff suing under the Medicare Act must plead that they have

 completed all four levels of administrative review as outlined supra at 6–7.

        Here, the Plaintiffs have the burden of establishing subject matter jurisdiction exists.

 Taylor, 680 F.3d at 612. Yet the Amended Complaint does not allege that any Plaintiff completed

 all four levels of the administrative review process or received the required final decision by the

 Secretary of HHS. See Amend. Compl. R.37, 218, 219–21, 223, 225–27, 228–29. As a result, the

 Plaintiffs have not shown that this Court has jurisdiction, and their case must be dismissed.




                                                 18
Case 3:23-cv-00654-RGJ         Document 40        Filed 06/06/24      Page 25 of 33 PageID #: 278




        Moreover, the relevant administrative records reflect that none of the Plaintiffs completed

 the administrative review process. Two plaintiffs, Ms. Hagood and Ms. Balani, made it as far as

 Level 3: On March 17, 2023, an ALJ issued a decision on Ms. Hagood’s Level 3 appeal, upholding

 Humana’s coverage determination because the requested level of care was not medically necessary

 under CMS guidelines. Exhibit 1, Sealed Filing, R.30, at 14. Similarly, on February 29, 2024, an

 ALJ issued a decision on Ms. Balani’s Level 3 Appeal, finding that Humana correctly determined

 that Ms. Balani did not need the type of intense services offered at an IRF. Exhibit 3 at 5. Although

 Ms. Balani appealed this adverse determination to the Medicare Appeals Council, Amend. Compl.,

 R.37, PageID#: 229, the four-step appeals process is not complete because a final decision has not

 been issued. 42 U.S.C. §§ 405(g)-(h), 1395w-22(g)(5); 42 C.F.R. §422.612.

        Nor did the rest of the Plaintiffs complete the administrative appeals process. Ms. Barrows

 and Ms. Kohl did not appeal Humana’s coverage determination past Level 1. Amend. Compl.,

 R.37, PageID#: 226–27; Exhibit 2, Sealed Filing, R.30. And despite Ms. Merkley’s multiple

 successful appeals, she did not request a Level 3 appeal of the adverse decisions on her Level 2

 appeals.    Amend. Compl. R.37, PageID#: 223, 225. Thus, the Court lacks subject matter

 jurisdiction over Plaintiffs’ claims. Alston, 291 F. Supp. 3d at 1175–76. The Medicare Act is clear:

 the administrative appeal process is the proper forum for these complaints to be heard.

 See 42 U.S.C. § 1395w-22(g); 42 C.F.R. § 422.560 et seq. Plaintiffs cannot avoid that process and

 forum-shop for relief in this Court by restyling their appeals.

        C.      Even If Plaintiffs Had Exhausted The Mandatory Appeals Process,
                The Secretary Of Health And Human Services—Not Humana—Would Be
                The Proper Defendant.

        This case should be dismissed because, even if Plaintiffs had fully exhausted the exclusive

 administrative appeal process set by Congress, the Plaintiffs sued the wrong defendant. When

 Congress passed the Medicare Act, it specified beneficiaries could seek review of final
                                                  19
Case 3:23-cv-00654-RGJ         Document 40       Filed 06/06/24      Page 26 of 33 PageID #: 279




 determinations only from the Secretary of HHS—not their MAO. See 42 U.S.C. § 405(g);

 42 C.F.R. § 422.612(c); id. § 405.1136(d)(1); see also Ebert, 2022 WL 509117, at *2 (“Even

 though the insurer . . . is the opposing party during the administrative review proceedings at the

 agency level, once a dispute like this goes to court, the Secretary of HHS is the party responsible

 for defending the agency’s decision below.”) (collecting cases); Madsen v. Kaiser Found. Health

 Plan, Inc., 2009 WL 1537878, at *4 (S.D. Cal. June 2, 2009) (“In any civil action seeking judicial

 review of a decision of the Medicare Appeals Council, the Secretary of HHS, in his or her official

 capacity, is the proper defendant.”). Even putting aside Plaintiffs’ failure to exhaust, the only

 proper defendant for this lawsuit would be HHS Secretary Becerra, not Humana. Therefore, the

 Amended Complaint must be dismissed.

 II.    THIS COURT MUST DISMISS PLAINTIFFS’ CLAIMS AGAINST HUMANA
        BECAUSE THEY ARE EXPRESSLY PREEMPTED BY THE MEDICARE ACT.

        The Court must dismiss Plaintiffs’ claims because they are preempted by the federal

 Medicare Act and regulations that govern when MAOs must cover post-acute care and how MAOs

 must make coverage determinations.

        A.      The Medicare Act Imposes A Sweeping Preemption Provision.

        To preserve the federal government’s ability to uniformly administer federal benefits and

 to avoid inconsistent application of the Medicare Program across the states, Congress expressly

 preempted any application of state statutes and causes of action that relate to Medicare coverage,

 rules, and regulations when it passed the Medicare Modernization Act in 2003. As the Ninth

 Circuit explained in Uhm:

        Prior to the 2003 amendments, the preemption clause provided that federal
        standards would supersede state law and regulations “with respect to” MA plans
        only “to the extent such law or regulation is inconsistent with such standards” and
        specified several “standards specifically superseded.” 42 U.S.C. § 1395w-
        26(b)(3)(A)(2000). The 2003 amendments struck both that qualifying clause and
        the enumerated standards from the provision. See 42 U.S.C. § 1395w-

                                                 20
Case 3:23-cv-00654-RGJ          Document 40        Filed 06/06/24      Page 27 of 33 PageID #: 280




        26(b)(3)(A)(2003). The Conference Report accompanying the Act explains that, in
        striking the clause, Congress intended to broaden the preemptive effects of the
        Medicare Statutory regime[.]

 Uhm, 620 F.3d at 1149 (citing H.R. Rep. No. 108-391, at 557 (2003) (Conf. Rep.) (“[T]he MA

 program is a federal program operated under [f]ederal rules. State laws, do not, and should not

 apply[.]”)). After the 2003 amendments, Medicare Part C’s preemption provision now provides:

        The standards established under this part shall supersede any State law or
        regulation (other than State licensing laws or State laws relating to plan solvency)
        with respect to MA plans which are offered by MA organizations under this part.

 42 U.S.C. § 1395w-26(b)(3) (emphasis added); see also 42 C.F.R. § 422.402. Multiple circuits

 have explained that the Medicare Act’s amended preemption provision is “akin to field

 preemption.” See Mulready, 78 F.4th at 1200, 1205 (describing Part D’s preemption provision—

 which is identical to Part C’s—as so “unmistakably broad” and “expansive” that field preemption

 applies); Medicaid & Medicare Advantage Prods. Ass’n of P.R., Inc. v. Hernández, 58 F.4th 5, 12

 (1st Cir. 2023) (the 2003 amendment expanded the scope of preemption “beyond those laws that

 directly conflict with federal standards”); Uhm, 620 F.3d at 1150 (same).

        Given the expansive language of the preemption provision, neither a conflicting state law

 standard nor “specific federal-state overlap” is necessary for a state law to be preempted.

 See Mulready, 78 F.4th at 1208 (holding that an Oklahoma state statute, which purported to require

 pharmacy benefit managers to allow all Oklahoma pharmacies willing to accept the PBM’s

 preferred-network terms, was preempted by the Medicare Act because the law “function[ed] as a

 regulation of a Part D plan itself.” (cleaned up)). Instead, any state law-related cause of action and

 common law cause of action that relates to a Medicare standard is preempted. See 40 Fed. Reg. at

 4665 (“all State standards, including those established through case law, are preempted to the

 extent they specifically would regulate MA plans”) (emphasis added)); Rudek v. Presence Our

 Lady of Resurrection Med. Ctr., 2014 WL 5441845, at *4 (N. D. Ill. Oct. 27, 2014) (observing that
                                                  21
Case 3:23-cv-00654-RGJ         Document 40        Filed 06/06/24      Page 28 of 33 PageID #: 281




 it would be “odd” for Congress to preempt state statutes and regulations yet remain “unconcerned

 about the greater risks of inconsistency and variability posed by the application of state law”).

        When applying this broad field-preemption provision, courts have concluded that, at a

 minimum, the Medicare Act preempts any state law or cause of action where “the conduct

 underlying the plaintiffs’ allegations and state law claims [is] governed by federal regulatory

 standards.” Hepstall, 2018 WL 6588555, at *6; Uhm, 620 F.3d at 1149–50 (common law fraud

 and state consumer protection claims were preempted when, “at bottom,” they complained about

 marketing activities regulated under Medicare because a court’s ruling on them had the potential

 to “directly undermine CMS’s prior determination” and its “ability to create standards” regulating

 Medicare entities); Hernández, 58 F.4th at 12–14 (Puerto Rico statute that required MAOs to pay

 healthcare providers a minimum rate preempted due to conflict with federal Medicare standards);

 Mulready, 78 F.4th at 1208–09; Williams, 2023 WL 4238892, at *7 (breach of contract and breach

 of good faith and fair dealing claim against MAO preempted by Medicare Act); Alston, 291 F.

 Supp. 3d at 1173 (state-law claims alleging negligence, respondeat superior, intentional infliction

 of emotional distress, and breach of contract against MAO were preempted); Potts v. Rawlings

 Co., 897 F. Supp. 2d 185, 199 (S.D.N.Y. 2012) (state anti-subrogation laws preempted by

 Medicare Act); Phillips v. Kaiser Found. Health Plan, Inc., 953 F. Supp. 2d 1078, 1090

 (N.D. Cal. 2011) (state-law unfair competition and consumer protection claims preempted by the

 Medicare Act); Quishenberry v. UnitedHealthcare, Inc., 532 P.3d 239, 249 (Cal. 2023) (negligence

 claims based on MAO’s alleged state law duty to ensure enrollee received skilled nursing benefits

 preempted because the MAO’s duty turned on a determination of whether the enrollee qualified

 for SNF care and were therefore duplicative of MA standards); Morrison v. Health Plan of Nev.,




                                                  22
Case 3:23-cv-00654-RGJ         Document 40        Filed 06/06/24      Page 29 of 33 PageID #: 282




 Inc., 130 Nev. 517, 523 (Nev. 2014) (state-law negligence claim against MAO concerning selection

 and supervision of participating providers was preempted by the Medicare Act).

        For instance, in Hepstall v. Humana Health Plan, Inc., the court explained that it could not

 hear claims that sought to retroactively second-guess Medicare coverage determinations.

 2018 WL 6588555, at *6–7. In that case, an enrollee’s husband sued Humana to recover “the value

 of his premiums paid in exchange for insurance that was not as represented, for the costs of

 healthcare which Defendant refused to pay, and for mental anguish or emotional suffering” as well

 as punitive damages for his wife’s wrongful death. Id. at *4. The court explained that each of

 those claims was preempted because they all were “based on or ar[o]se from Defendant’s refusal

 or failure to pay for certain medical services,” an area substantially regulated by the Medicare Act,

 CMS regulations, and coverage guidelines. Id. at *7. Like the preempted claims in Hepstall,

 Plaintiffs’ claims here relate to, and conflict with, existing Medicare standards, so the Medicare

 Act’s preemption provision requires that this Court dismiss them.

        B.      The Medicare Act Preempts Plaintiffs’ Claims Because, “At Bottom,” They
                Are About Coverage Determinations Addressed By Medicare’s Vast
                Regulatory Scheme.

        The Medicare Act preempts Plaintiffs’ causes of action because each is, at bottom, about a

 coverage determination concerning Medicare Benefits—the allegation that Humana improperly

 reviewed Plaintiffs’ claims for benefits, see, e.g., Amend. Compl., R.37, PageID#: 235–37, 244,

 246–47, leading to a denial of coverage for their post-acute care, id. at 239, 241, 244, 247. Whether

 a Medicare Benefit should be covered by an MAO is the subject of federal standards, which compel

 MAOs to provide enrollees with “all services that are covered by Part A and Part B of Medicare,”

 and to comply with “CMS’s national coverage determinations” and its “general coverage

 guidelines.” Hepstall, 2018 WL 6588555 at *7 (citing 42 C.F.R. §§ 422.101(a)–(b)). Thus, claims

 that Humana wrongly denied Medicare Benefits for post-acute care are preempted by the extensive
                                                  23
Case 3:23-cv-00654-RGJ         Document 40        Filed 06/06/24      Page 30 of 33 PageID #: 283




 Medicare regulatory scheme that governs all aspects of an MAO’s authorization for post-acute

 care. See, e.g., 42 C.F.R. § 409.30 (basic pre-admission and admission requirements); § 409.31

 (level-of-care requirement); § 409.32 (criteria and need for skilled nursing services); § 409.33

 (examples of what qualifies as skilled nursing services); § 424.20 (plan of treatment and

 certification requirements for post-hospital SNF care). Plaintiffs’ claims that Humana improperly

 investigated whether coverage should have been required run headlong into CMS regulations that

 explain how MAOs can make coverage determinations using utilization management policies and

 procedures. See 42 C.F.R. § 422.112(a)(6)(ii); § 422.137.

        Allegations that Humana wrongly delegated its responsibility to make coverage decisions

 are similarly “governed by standards set forth in regulations promulgated by CMS.” Hepstall,

 2018 WL 6588555, at *7; see 42 C.F.R. § 422.566(d) (requiring adverse coverage determinations

 to be reviewed by an “appropriate health care professional”); Alston, 291 F. Supp. 3d at 1174–75

 (plaintiff’s negligence cause of action, which alleged that an insurer breached its “duty to conduct

 a reasonable investigation based on all available information and affirm or deny coverage within

 a reasonable time” was preempted because a state-law based decision turning on reasonableness

 would be inconsistent with Medicare Part D standards). And allegations that Humana “made

 material omissions of fact . . . prior to Plaintiffs and the Class purchasing and renewing their

 insurance policies,” Amend. Compl. R.37 PageID#: 247, infringe on the field already governed by

 CMS rules that dictate what information is “vital to the beneficiary,” 42 C.F.R. § 422.2267, by

 asking this Court to impose a duty on MAOs to disclose information beyond what the Medicare

 Act and CMS already require. See id. § 422.111 (disclosure requirements for MAOs).

        This Court cannot apply state causes of action to determine whether Humana properly

 evaluated the Plaintiffs’ need for post-acute care without second-guessing Humana’s



                                                 24
Case 3:23-cv-00654-RGJ         Document 40        Filed 06/06/24      Page 31 of 33 PageID #: 284




 administration of federal Medicare standards.        For example, in Snyder v. Prompt Medical

 Transportation, Inc., 131 N.E.3d 640, 653 (Ind. Ct. App. 2019), a state-law wrongful death claim

 against an MAO was held preempted. There, as here, the plaintiff alleged that the MAO

 wrongfully denied Medicare Benefits (an air ambulance transport to another hospital). The trial

 court dismissed the MAO from the case, finding the claims preempted. Affirming that decision,

 Snyder emphasized that federal regulations already govern the authorization of air ambulance

 transportation. Id. at 653. As the court further explained:

        [T]o resolve this argument, a court would have to apply a state law standard of care
        to a coverage determination governed by federal law. Indeed, if allowed to stand,
        the Estate’s complaint could theoretically allow [the MAO] to be found negligent
        even if it fully complied with all federal laws and regulations. Under these
        circumstances, we can only conclude that the Estate’s claims, which sound in state
        law that must be applied with respect to Medicare Part C, are preempted pursuant
        to Part C’s express preemption provision.

 Id. Here, Plaintiffs should not be allowed to forum-shop their way to a different coverage

 determination by “creatively” cloaking their complaint about denial of Medicare Benefits under

 the guise of causes of action arising under state statutes or common law. Uhm, 620 F.3d at 1143;

 Blue Cross & Blue Shield of Ala., 156 F.3d at 1104. These claims should be dismissed.

                                          CONCLUSION

        For the foregoing reasons, the Court should dismiss Plaintiffs’ Amended Complaint with

 prejudice.

 Dated: June 6, 2024                          Respectfully Submitted,

                                               /s/ Michael P. Abate




                                                 25
Case 3:23-cv-00654-RGJ   Document 40     Filed 06/06/24    Page 32 of 33 PageID #: 285




                                       Michael P. Abate
                                       Burt Anthony Stinson
                                       KAPLAN JOHNSON ABATE & BIRD LLP
                                       710 West Main Street, 4th Floor
                                       Louisville, KY 40202
                                       Telephone: 502-416-1630
                                       E-mail: mabate@kaplanjohnsonlaw.com
                                       E-mail: cstinson@kaplanjohnsonlaw.com

                                       Kevin D. Feder (pro hac vice)
                                       Jason Yan (pro hac vice)
                                       Gillian Mak (pro hac vice)
                                       O’MELVENY & MYERS LLP
                                       1625 Eye Street NW
                                       Washington, DC 20006
                                       Telephone: 202-383-5164
                                       E-mail: kfeder@omm.com
                                       E-mail: jyan@omm.com
                                       E-mail: gmak@omm.com

                                       Attorneys for Defendant Humana Inc.




                                         26
Case 3:23-cv-00654-RGJ          Document 40      Filed 06/06/24      Page 33 of 33 PageID #: 286




                                   CERTIFICATE OF SERVICE
        I hereby certify that, on June 6, 2024, a copy of the foregoing was electronically filed with

 the Court of Clerk using the CM/ECF system, which will automatically send email notification of

 such filing to all counsel of record.


                                              /s/ Michael P. Abate
                                              Counsel for Defendant




                                                 27
